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 6                             UNITED STATES DISTRICT COURT
 7                            SOUTHERN DISTRICT OF CALIFORNIA
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 9     CROSSFIT, INC., a Delaware                          Case No.: 14-CV-1191 JLS (KSC)
       corporation,
10
                                          Plaintiff,       ORDER GRANTING MOTION TO
11                                                         WITHDRAW AS COUNSEL OF
       v.                                                  RECORD
12
       NATIONAL STRENGTH AND                               (ECF No. 246)
13
       CONDITIONING ASSOCIATION, a
14     Colorado corporation,
15                                      Defendant.
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17           Presently before the Court is a Motion to Withdraw as Counsel of Record for
18     Defendant National Strength and Conditioning Association, (ECF No. 246). Bruce Isaacs
19     of the law firm Davis Wright Tremaine LLP requests leave to withdraw as co-counsel for
20     Defendant. Defendant has been and will continue to be represented by Noonan Lance
21     Boyer & Banach, LLP.
22           Good cause appearing, the Court GRANTS the Motion. The Clerk SHALL update
23     the docket to reflect the withdrawal.
24           IT IS SO ORDERED.
25     Dated: May 17, 2018
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